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Attorneys for Plaintiffs

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

STEVEN M. COLOSIMO and
NATHANIEL A. PORTEOUS,
individuals, on behalf of themselves and all | MOTION TO AMEND AND
other similarly situated employees, REMAND

CASE NO.: 2:19-cv00647

Plaintiffs,
vs.

PRINCE TELECOM, LLC, a Delaware
limited lability company; and DOES 1
through 10, inclusive,

Defendants.

 

 

COME NOW Plaintiffs, STEVEN M. COLOSIMO and NATHANIEL A.
PORTEOUS, individuals, on behalf of themselves and all other similarly situated

employees, by and through their counsel, MADDOX

 

ISAACSON | CISNEROS LLP,
and hereby present this Motion to Amend and Remand.

This Motion is based on the following Memorandum of Points and
Authorities, all pleadings and papers on file herein, and on such oral argument and

documentary evidence that may be presented at any oral hearing on this Motion.

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MEMORANDUM OF POINTS AND AUTHORITIES

In this class action, Plaintiffs have asserted wage and hour violations under
federal and Nevada law. On February 28, 2019, Plaintiffs filed this action in the
Eighth Judicial District, Clark County, Nevada, and Defendant then removed to this
Court on April 15, 2019. Therein Defendants alleged that pursuant to 28 U.S.C. §§
1441(a) and 1446, the Court had original jurisdiction over the federal claims raised
under 28 U.S.C. § 1331 and supplemental jurisdiction over the state law claims under
28 U.S.C. § 1367. The alleged basis of federal jurisdiction was that Plaintiffs had pled
federal clatms under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et. seq.

Plaintiffs hereby seek leave to amend their Complaint to remove the FLSA
claims, and to remand the action to state court, pursuant to 28 U.S.C. § 1447.
I. LEGAL STANDARD

Fed. R. Civ. P. 15(a)(2) provides that “[t]he court should freely give leave [to
amend] when justice so requires.” The Supreme Court has interpreted Rule 15(a)(2)
and confirmed the liberal standard district courts must apply when granting such
leave:

In the absence of any apparent or declared reason—such as undue delay,
bad faith or dilatory motive on the part of the movant, repeated failure
to cure deficiencies by amendments previously allowed, undue prejudice
to the opposing party by virtue of allowance of the amendment, futility
of the amendment, etc.—the leave sought should, as the rules require, be
‘freely given.’

Foman v. Davis, 371 US. 178, 182, 83 S.Ct. 227 (1962).

A complaint filed in state court may be removed to federal court if the federal
coutt would have had original jurisdiction over the action had it been brought in
federal court in the first place. 28 U.S.C. § 1441(a). However, “The removal statute is
strictly construed against removal jurisdiction.” Provincial Gov't of Marinduque v. Placer
Dome, Inc, 582 F.3d 1083, 1087 (th Cir.2009). “The defendant bears the burden of

establishing that removal is proper.” Id “If at any time before final judgment it

 

 
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appeats that the district court lacks subject matter jurisdiction, the case shall be
remanded.” 28 U.S.C. § 1447(0).
Il. LEGAL ARGUMENT
Six of the eight claims brought by Plaintiffs were made under Nevada state
law, as follows:
1) Failure to pay minimum wages in violation of the Nevada Constitution;
2) Failure to compensate for all hours worked in violation of NRS §§
608.140 and 608.016;
3) Failure to pay overtime in violation of NRS §§ 608.140 and 608.018;
4) Failure to timely pay all wages due and owing in violation of NRS §§
608.140 and 608.020-050;
5) Failure to provide meal periods in violation of NRS §§ 608.140 and
608.019; and
6) Failure to provide rest periods in violation of NRS §§ 608.140 and
608.019.
‘Two claims made under federal law, namely:
1) Failure to pay wages for all hours worked in violation of the Fair Labor
Standards Act, 29 U.S.C. § 201, et. seq.; and
2) Failure to pay overtime in violation of the Fair Labor Standards Act, 29
USS.C. § 207.
Plaintiffs hereby move to amend, removing the two FLSA claims. A proposed
First Amended Complaint is attached hereto as Exhibit 1. Plaintiffs further submit
that the Court should deem the First Amended Complaint admitted, then remand to
state court, for the reason that without the federal claims, the Court lacks jurisdiction
under 28 US.C. § 1447 (c).
Defendant will suffer no prejudice through this Motion. No discovery has
been conducted, and there is only one motion pending in this action — Defendant’s

Motion to Dismiss (ECF No. 8). Because there has been no discovery and no ruling

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on the motion to dismiss, Plaintiffs believe that it would serve judicial economy to
remand this matter to state court. Plaintiffs have met and conferred with Defendant’s
counsel concerning this matter, without success.
li. CONCLUSION

For the foregoing reasons, Plaintiffs respectfully request and Order deeming
the proposed First Amended Complaint as admitted, then remanding this action to
state court, pursuant to 28 U.S.C. § 1447 (c).

DATED this Lb day of May , 2019.

MADDOX | ISAACSON | CISNEROS LLP

By: anki ——>

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CERTIFICATE OF SERVICE
I am a resident of the State of Nevada, over the age of eighteen years, and not
a patty to the within action. My business address is 11920 Southern Highlands
Parkway, Suite 100, Las Vegas, Nevada 89141.

Pursuant to FRCP 5(b)(3) and LR 5-1, I hereby certify that on this 15 day of
May, 2019, I served a true and correct copy of the above document, entitled
MOTION TO AMEND AND REMAND, via the Court’s electronic
filing/service system (CM/ECF) to all parties on the current service list.

Rick D. Roskelley, Esq.

Littler Mendelson, P.C.

3960 Howard Hughes Parkway,

Suite 300

Las Vegas, NV 89169

Email Address: rroskelley@littler.com
Attorney For: Prince Telecom, LLC

I declare under penalty of perjury that the foregoing is true and cortect.
Executed on May 15, 2019, at Las Vegas, Nevada.

— An

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NN BNE. 0 KP alba! SY

An employee of MADDOX | ISAACSON | CISNEROS LLP

 
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EXHIBIT INDEX

 

 

 

 

Exhibit 1 - 1° Amended Collective and Class
Action Complaint
